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                                UNITED STATES BANKRUPTCY COURT

                                  SOUTHERN DISTRICT OF FLORIDA



In re:

YEMINNA BARRETO                                                  Case No.17-14163RAM

                                                                 Chapter 13




                   DEBTOR’S MOTION TO MODIFY CHAPTER 13 PLAN

         COMES NOW the Debtor, YEMINNA BARRETO by and through

undersigned counsel, and respectfully requests a modification of the Chapter 13 Plan,

pursuant to 11 U.S.C. Section 1329, and as grounds would show as follows:


         1.     The Debtor filed a voluntary chapter 13 bankruptcy petition on April 3, 2017.

         2.     The Debtor’s 2nd Amended Plan was confirmed on or about August 21, 2017.

         3.     The Debtor entered the Mortgage Modification Program to save her home. She
                has been fully unsuccessful in that endeavor.

         4.     The Debtor now wishes to modify her plan, removing the home from the plan,
                terminating the plan early and obtain a discharge. Debtor has completed 25
                months of the plan.

         5.     It is in the best interest of all interested parties that this motion be granted.

         6.     All creditors have been noticed and no creditor will be harmed by the
                modification.


         WHEREFORE, Debtor respectfully asks this Court to allow this First Modified Chapter 13 plan.



                                                ___/s/Roshawn Banks___
                                                Roshawn Banks, Esq.
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